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 7                           IN THE UNITED STATES DISTRICT COURT
                       IN AND FOR THE WESTERN DISTRICT OF WASHINGTON
 8
     NATHEN BARTON,
 9                                             CASE NO. 3:21-cv-05610-RJB
          Plaintiff,
10                                             ANSWER AND COUNTERCLAIM OF
     v.                                        DEFENDANTS JOE DELFGAUW,
11                                             XANADU MARKETING INC.
     JOE DELFGAUW, XANADU
12   MARKETINGITNC., THE CREDIT PROS
     INTERNATIONAL CORPORATION,
13   EXPERIAN INFORMATION
     SOLUTIONS INC., LGNB LLC,
14   STARTER HOME INVESTING INC,
     TORT EXPERTS LLC, LAW OFFICE OF
15   TOM WAGSTAFF, JR., LLC, LEARNER &
     ROWE, PC DV INJURY LAW PLLC, &
16   JOHN DOE 1-10,

17        Defendants.

18   JOE DELFGAUW and ZANADU
     MARKETING INC.,
19
              Counterclaimants,
20
     v.
21
     NATHEN BARTON,
22
              Counter Defendant.


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 1       COMES NOW defendants JOE DELFGAUW and XANADU MARKETING INC and

 2   answer the Complaint as follows: There are no paragraph numbers. Defendants respond to

 3   each paragraph in order.

 4                                     I. BASIS FOR JURISDICTION

 5           Defendants lack sufficient personal information to admit or deny the information as to

 6    the residence of Plaintiff and leave Plaintiff to its proofs as to the remaining allegations in this

 7    paragraph.

 8           Defendants admit that if Plaintiff lives in Washington that venue and jurisdiction are

 9    proper in this Court. Defendants lack sufficient personal information to admit or deny the

10    information as to the residence of Plaintiff and leave Plaintiff to its proofs as to the remaining

11    allegations in this paragraph.

12                               II. THE PARTIES TO THE LITIGATION

13           Defendants lack sufficient personal information to admit or deny the information as to

14    the residence of Plaintiff and leave Plaintiff to its proofs.

15           Page 2, Lines 15-16: Deny as to Xanadu Marketing Inc.. It’s address is 956 3 Mile

16    Road N.W., Grand Rapids, Michigan 49544

17           Page 2, Lines 17-20: Admit as to Xanadu’s registered agent.

18           Page 2, Lines 21-23: As to Joe Delfgauw’s address, Defendants deny the allegations.

19    Admit that Joe Delfgauw is the President and Secretary of Xandau Marketing. Defendants

20    lack sufficient information to admit or deny the remaining allegations and therefore leave

21    Plaintiff to his proofs

22           Page 2 Line 24 – Page 3 Line 1-2. Admit the facts in this paragraph as to Xanadu

      Marketing.

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 1           Page 3, Line 3-5: Denied.

 2           Page 3, Lines 6-18: Defendants lack sufficient personal knowledge as to the

 3    information in the paragraphs, and therefore leave Plaintiff to its proofs.

 4           Page 3, Lines 19-20: Denied. The address is 956 Three Mile Rd N.W., Grand Rapids,

 5    MI 49544.

 6           Page 3, Lines 21-22: Admit.

 7           Page 4, Lines 1-18 Defendant lacks sufficient information to admit or deny the

 8    information contained in these paragraphs leaves Plaintiffs to its proofs.

 9           Page 4, Line 19: This is not an allegation and needs no answer.

10           Page 4 Line 20: Denied.

11                                       III. STATEMENT OF CLAIM

12           Page 4 Lines 22 – Page 5, Lines 1-4: Defendants lack sufficient information on which

13   to form a belief and therefore Plaintiff to its proofs.

14               Text Messages from SMS Short Code 33959

15           Page 5 Lines 5- 22: Defendants lack sufficient information on which to form a belief

16   and therefore Plaintiff to its proofs.

17           Page 6 Lines 1-9: Defendants lack sufficient information on which to form a belief and

18   therefore Plaintiff to its proofs. As further response, Defendant Xanadu Marketing denies that

19   the links listed are owned or controlled by Defendant Xandau Marketing.

20           Page 6 Lines 10-22 ½.: Defendants admit the allegations contained in these

21   paragraphs, except for line 15, which is a question and not an allegation that deems a response.

22           Page 6 Lines 22 ½ - 24 and Page 7, Lines 1-2: Defendants lack sufficient information

     on which to form a belief and therefore Plaintiff to its proofs.

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 1           Text Messages from SMS Short Code 365365

 2           Defendants lack sufficient information on which to form a belief and therefore

 3   Plaintiff to its proofs.

 4           Text Messages from (803) 618-8038

 5           Page 7 Lines 4-14: Defendants lack sufficient information on which to form a belief

 6   and therefore Plaintiff to its proofs.

 7           Page 7 Lines 16-19: Defendants lack sufficient information on which to form a belief

 8   and therefore Plaintiff to its proofs.

 9           Page 7 Line 20-21 through Page 8, Lines 1-2: To Defendants’ knowledge, Tax Axe is

10   a d/b/a of Tax Planning Group Inc. and that the taxaxe.org is a website that is hosted on the

11   same internet server as Xandau Marketing, but deny that this indicates anything else or further

12   allegations.

13           Page 8, Lines 3-7: Admit.

14           Page 8, Line 8: Defendants lack sufficient information on which to form a belief and

15   therefore Plaintiff to its proofs.

16           Solicitations from 1st Time Home Buyer Program Inc.

17           Page 8, Lines 10-23 Defendants lack sufficient information on which to form a belief

18   and therefore Plaintiff to its proofs.

19           Page 9, Line 1-4: Admit, however, the address is wrong, and Defendants deny that

20   allegation.

21           Page 9, Lines 6-8 Admit.

22           Page 9 Lines 9-12: Defendants lack sufficient information on which to form a belief

     and therefore Plaintiff to its proofs.

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 1             Enter the Credit Pros International Corporation

 2             Page 9 Lines 14-22 through Page 10 Lines 1-2: Defendants lack sufficient personal

 3   information to admit or deny the allegations contained in this Section and leave Plaintiff to its

 4   proofs.

 5             More about (360) 318-7867

 6             Page 10, Lines 4-10: Defendants lack sufficient personal information to admit or deny

 7   the allegations contained in this Section and leave Plaintiff to its proofs.

 8

 9             Enter ApexPageBuilder.com

10             Page 10, Lines 12-15: Defendants lack sufficient information on which to form a

11   belief and therefore Plaintiff to its proofs.

12             Page 10 Lines 16-18: Admit

13             Page 10 Lines 19-24 though Page 11, Lines 1-2: Defendants lack sufficient

14   information on which to form a belief and therefore Plaintiff to its proofs.

15             Page 11, Lines 3-4 ½: Deny.

16             Page 11, Lines 4 ½ - 8: Admit the listed persons are members of an entity “Assisting

17   Renters”.

18             Page 11, Lines 9-21: Defendants lack sufficient information on which to form a belief

19   and therefore Plaintiff to its proofs.

20             Roundup Lawsuit

21             Defendants lack sufficient personal information to admit or deny the allegations

22   contained in this Section and leave Plaintiff to its proofs.

               Roundup Lawsuit unsolicited call #1

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 1           Defendants lack sufficient personal information to admit or deny the allegations

 2   contained in the this Section and leave Plaintiff to its proofs.

 3           Roundup Lawsuit unsolicited call #2

 4           Defendants lack sufficient personal information to admit or deny the allegations

 5   contained in this Section and leave Plaintiff to its proofs.

 6           Roundup Lawsuit unsolicited call #3

 7           Defendants lack sufficient personal information to admit or deny the allegations

 8   contained in this Section and leave Plaintiff to its proofs.

 9           Roundup Lawsuit unsolicited call #4

10           Defendants lack sufficient personal information to admit or deny the allegations

11   contained in this Section and leave Plaintiff to its proofs.

12           Roundup Lawsuit unsolicited call #5

13           Defendants lack sufficient personal information to admit or deny the allegations

14   contained in this Section and leave Plaintiff to its proofs.

15           Enter Tort Experts LLC

16           Defendants lack sufficient personal information to admit or deny the allegations

17   contained in this Section and leave Plaintiff to its proofs.

18           Zantac Unsolicited Phone Call #1

19           Defendants lack sufficient personal information to admit or deny the allegations

20   contained in this Section and leave Plaintiff to its proofs.

21           Talcum Powder Unsolicited Phone Call #1

22           Defendants lack sufficient personal information to admit or deny the allegations

     contained in this Section and leave Plaintiff to its proofs.

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 1           Talcum Powder Unsolicited Phone Call #2

 2           Defendants lack sufficient personal information to admit or deny the allegations

 3   contained in this Section and leave Plaintiff to its proofs.

 4           “You are receiving this message because you have previously opted in on injury

 5   helpdesk survey path”

 6           Defendants lack sufficient personal information to admit or deny the allegations

 7   contained in this Section and leave Plaintiff to its proofs.

 8           Auto Accident Unsolicited Phone Call #1

 9           Defendants lack sufficient personal information to admit or deny the allegations

10   contained in this Section and leave Plaintiff to its proofs.

11           Paraquat Unsolicited Phone Call #1

12           Defendants lack sufficient personal information to admit or deny the allegations

13   contained in this Section and leave Plaintiff to its proofs.

14           Paraquat Unsolicited Phone Call #2

15           Defendants lack sufficient personal information to admit or deny the allegations

16   contained in this Section and leave Plaintiff to its proofs.

17           Paraquat Unsolicited Phone Call #2

18           Defendants lack sufficient personal information to admit or deny the allegations

19   contained in this Section and leave Plaintiff to its proofs.

20           Elmiron Unsolicited Phone Call #1

21           Defendants lack sufficient personal information to admit or deny the allegations

22   contained in this Section and leave Plaintiff to its proofs.

             Elmiron Unsolicited Phone Call #2

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 1           Defendants lack sufficient personal information to admit or deny the allegations

 2   contained in this Section and leave Plaintiff to its proofs.

 3           Elmiron Unsolicited Phone Call #3

 4           Defendants lack sufficient personal information to admit or deny the allegations

 5   contained in this Section and leave Plaintiff to its proofs.

 6           Elmiron Unsolicited Phone Call #4

 7           Defendants lack sufficient personal information to admit or deny the allegations

 8   contained in this Section and leave Plaintiff to its proofs.

 9           Elmiron Unsolicited Phone Call #5

10           Defendants lack sufficient personal information to admit or deny the allegations

11   contained in this Section and leave Plaintiff to its proofs.

12           Elmiron Unsolicited Phone Call #6

13           Defendants lack sufficient personal information to admit or deny the allegations

14   contained in this Section and leave Plaintiff to its proofs.

15           Relationship Between the Defendants

16           Page 19, Lines 1-7 Defendants lack sufficient information on which to form a belief

17   and therefore Plaintiff to its proofs.

18           Page 19, Lines 8-9: Denied.

19           Page 19, Lines 10-18: Defendants lack sufficient information on which to form a belief

20   and therefore Plaintiff to its proofs.

21           Page 19, Lines 19-23: Denied

22           Page 20, Lines 1-3: Denied.

             These calls are annoying

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 1           Defendants lack sufficient personal information to admit or deny the allegations

 2   contained in this Section and leave Plaintiff to its proofs.

 3           Joe Delfgauw’s Personal Liability

 4           Defendant admits the allegations contained in Page 20, Line 9 but as to the remaining

 5   allegations in this section, Defendants lack sufficient information on which to form a belief

 6   and therefore leave Plaintiff to its proofs.

 7           Commercial Telephone Solicitors

 8           The RCW speaks for itself.

 9           Defendants lack sufficient personal information to admit or deny the allegations

10   regarding Credit Pros and Experian and “other Defendants” contained in this Section and

11   leave Plaintiff to its proofs.

12           DEFENSES

13           Defendant JOE DELFGAUW and XANADU MARKETING INC., assert the

14   following defenses

15               1. Ambiguity

16           These answering defendants assert the plaintiff did not clearly state the issues in this

17   case, making it difficult for these answering defendants to fully respond, and therefore ask this

18   Court for leave to amend this answer to assert additional defenses once information is

19   discovered that would allow defenses to be known.

20               2. Sufficiency of Service of Process.

21           As to Defendant XANADU, defendant asserts that service of process on this answering

22   defendant was insufficient.

                 3. Failure to State a Claim Upon Which Relief Can Be Granted

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 1           Plaintiff’s complaint fails to state a claim upon which relief can be granted against

 2   these answering defendants.

 3               4. Standing

 4           Mr. Barton has fraudulently manufactured lawsuits with the intent of obtaining money

 5   through the misuse of the TCPA and currently has nine active federal cases, which I believe

 6   shows bad faith. Mr. Barton is not the type of plaintiff the law was created to protect and

 7   therefore, lacks Article III standing to even bring the lawsuit. See Stoops v. Wells Fargo Bank,

 8   N.A., 197 F. Supp.3d 782 (W.D. Pa. 2016).

 9               5. Fraud

10           These answering defendants assert that plaintiff or plaintiff’s assignee used fraud,

11    deceit or misrepresentation to invite the contact

12               6. Unclean Hands

13           These answering defendant assert that plaintiff or plaintiff’s assignee committed a

14   wrongful act and/or fraud and/or misrepresentation and is attempting to benefit from those acts

15   through this lawsuit.

16               7. Failure to Mitigation

17           These answering defendant assert that neither plaintiff nor plaintiff’s assignee on

18   plaintiff’s behalf to mitigate his damages.

19            AND NOW having answered the allegations of the Complaint and having pled

20   affirmatively, these answering defendants deny that Plaintiff is entitled to any relief and

21   demands that the Complaint be dismissed at Plaintiff’s cost.

22



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 1

 2                                                  COUNTERCLAIM

 3            JOE DELFGAUW and XANADU MARKETING INC, (collectively

 4   “Counterclaimants”) file this Counterclaim against NATHEN BARTON (“BARTON”), an in

 5   support of their individual and collective Causes of Action state:

 6                                             I.   PARTIES

 7           1.1 Counterclaimant JOE DELFGAUW is a natural person over the age of 18, residing

 8   in the Kent County, Michigan.

 9           1.2 Counterclaimant XANADU MARKETING INC. is a domestic profit corporation,

10   formed in the State of Michigan.

11
                                II.          JURISDICTION AND VENUE
12
             2.1 The original complaint was filed in this venue and jurisdiction.
13
                                      III.     ADDITIONAL FACTS
14
             3.1     Counterclaimants JOE DELFGAUW and XANADU MARKETING INC. are
15
       informed and believe and thereon allege that Counterdefendant NATHEN BARTON in or
16
       about October 2018 opted into a marketing campaign to receive communication from an
17
       entity operated or represented by the Counterclaimants or one of its affiliates.
18
             3.2     Again on or about February 2021, Counterdefendant NATHEN BARTON
19
       again opted in to receive information from Counterclaimants or one of their affiliates by
20
       providing his phone number. Unfortunately, the Complaint does not specify which number
21
       that is.
22



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 1           3.3      Counterclaimants and their affiliates retain information and regarding the IP

 2     address of individuals that interact with its websites.

 3           3.4      Counterclaimants are informed and believe and thereon allege that

 4     Counterdefendant NATHEN BARTON provided a fake name when he provided his phone

 5     number on the website when opting in to receive information.

 6           3.5      Counterdefendant opted in, gave false information, and then waited for contact.

 7           3.6      Once Counterdefendant was contacted by Counterclaimants, and other

 8     businesses, using a fake area code, so that once his complaint was filed, he could not be

 9     traced through his opt-in information.

10           3.7         Counterclaimants are informed and believe and thereon allege that

11     Counterdefendant NATHEN BARTON opted in with the intent to engage Counterclaimants

12     and their affiliates in actions that Counterclaimant intended to use to file lawsuits for

13     violating the TCPA.

14           3.8      Counterclaimants are informed and believe and thereon allege that

15     Counterdefendant NATHEN BARTON had a scheme to “get rid of robocalls” and purposely

16     sought out businesses to sue for his own personal financial gain.

17           3.9      Counterdefendant was in fact, living in Richardson, Texas, in October 2018.

18           3.10     Counterdefendant has filed at least nine similar lawsuits in this and other courts,

19     alleging similar actions.

20
     IV.     CAUSE OF ACTION – FRAUD
21
             4.1      Counterclaimants repeat and reallege the allegations set forth in paragraphs 1.1
22
       through 3.10


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 1              4.2    Counterclaimants are informed and believe and thereon allege that BARTON

 2    used a false name when opting-in.

 3              4.3    Counterclaimants are informed and believe and thereon allege that BARTON

 4    filed a complaint alleging actions involving a phone number but only stated an area code, for

 5    the purpose of hiding the phone number involved so that his true actions could not be traced.

 6              4.4    Counterclaimants are informed and believe and thereon allege that BARTON

 7    falsely represented this information for the purpose of showing that the messages he received

 8    were unsolicited.

 9              4.5    Counterclaimants are informed and believe and thereon allege that BARTON

10    represented himself using a false name when he opted-in and to represent to the court in his

11    lawsuit that he had never opted in to receive information, and to induce Counterclaimants

12    (and other businesses) to believe BARTON was interested in marketing communication.

13              4.6    Counterclaimants are informed and believe and thereon allege that BARTON

14    did these actions complained of to further his mission to “take down robocallers”.

15              4.7    Counterclaimants are informed and believe and thereon allege that when

16    BARTON made these representations, he knew they were false.

17              4.8    Counterclaimants are informed and believe and thereon allege that when

18    BARTON made this representation he did so with the intent that Counterclaimants would act

19    on it.

20              4.9    Counterclaimants took their actions in reliance on BARTON’s representations.

21              4.10   Counterclaimants suffered injuries based on the actions of BARTON.

22



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 1                .
     V.      CAUSE OF ACTION -FRAUD BY NONDISCLOSURE
 2
             5.1     Counterclaimants repeat and reallege the allegations set forth in paragraphs 1.1
 3
      through 4.10
 4
             5.2     Counterclaimants are informed and believe and thereon allege that when
 5
      BARTON knew or had reason to know that prior to his lawsuit, he affirmatively gave
 6
      Counterclaimants and/or third parties consent to receive text messages and phone calls from
 7
      Counterclaimants’ and third party providers. BARTON took no action to correct that opt0in
 8
      information
 9
             5.3     To the extent that BARTON did not wish to receive text messages and/or phone
10
      calls at the alleged 360 phone number, he intentionally concealed from or failed to disclose
11
      that fact to Counterclaimants. Because BARTON was the person with the most knowledge
12
      related to whether he wished to receive text messages and phone calls at his phone number,
13
      and because he was well aware of potential liability under the TCPA (based on his multiple
14
      lawsuits), BARTON had a duty to disclose to Counterclaimants his desire not to receive such
15
      contact.
16
             5.4     BARTON’s failure to disclose his desire to not receive text messages and
17
      phone calls was material because he knew that Counterclaimants had received an opt-in
18
      notice from BARTON for the alleged phone number
19
             5.5     By failing to disclose his desire to not receive text messages and phone calls
20
      BARTON intended Counterclaimants to fulfill their contractual obligation with third parties
21
      who would then send BARTON text messages that all believed had been requested by
22



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 1    BARTON. Counterclaimants expended both employee time and resources to fulfill its

 2    contractual obligations based on BARTON’s failure to disclose

 3           5.6     Despite knowing about BARTON’s opt-in and failure to disclose to

 4    Counterclaimants that BARTON did not want to receive text messages or phone calls,

 5    BARTON claimed that those messages were “unsolicited” in his lawsuit

 6
                            CONCLUSION AND REQUEST FOR RELIEF
 7
             Counterclaimants request that the Court enter a judgment that BARTON is liable for
 8
     common-law fraud and fraud by non-disclosure and award Counterclaimants’ actual damages,
 9
     exemplary damages, interest, costs, attorneys’ fees and all other relief that this Court finds fair
10
     and just.
11
             Dated this 4th day of October, 2021
12
                                                            ____s/Donna Gibson________________
13                                                          Donna Gibson WSBA 33583
                                                            Attorney for Defendants
14                                                          JOE DELFGAUW, XANADU
                                                            MARKETING INC.,
15                                                          Law Office of Donna Beasley Gibson
                                                            1204 Cleveland Ave
16                                                          Mount Vernon, WA 98273
                                                            206-242-5529/Fax: 425-332-7068
17                                                          beasleylaw@msn.com
                                                            donna@donnagibsonlaw.com
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